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 3                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 4                                         AT SEATTLE
 5    ANTONIO L. CAMPBELL,
 6
                    Plaintiff,
                                                               Case No. C21-1436RSL
 7           v.
                                                               ORDER TO SHOW CAUSE
 8    XR FOODS,
 9                  Defendant.
10

11
            On October 20, 2021, the Clerk of Court issued a Letter to the parties regarding case
12
     assignment, Dkt. #8, in the above-captioned matter. The Letter was mailed to plaintiff, but was
13
     returned unopened on November 12, 2021, as plaintiff apparently no longer resides at the
14
     address on file with the Court, Dkt. #11. On October 25, 2021, the Clerk of Court mailed an
15
     IFP Deficiency Notice to plaintiff. That Notice was also returned unopened on November 11,
16
     2021, Dkt. #10.
17
            The Clerk of Court is directed to note a “Rule 41 dismissal proceeding” on the calendar
18
     for January 21, 2022. If plaintiff fails to notify the Court and opposing parties of his current
19
     address by that date, the Court will dismiss the action without prejudice for failure to prosecute
20
     under Local Civil Rule 41(b)(2).
21
                   DATED this 17th day of November, 2021.
22

23

24
                                                A
                                                Robert S. Lasnik
25                                              United States District Judge

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     ORDER TO SHOW CAUSE - 1
